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                       UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF RHODE ISLAND

                                           )
 G.M.G.,                                   )
      Petitioner,                          )
                                           )
      v.                                   )      C.A. No. 25-cv-195-MRD-PAS
                                           )
 DONALD J. TRUMP, et al.,                  )
    Respondents.                           )
                                           )


                                       ORDER

 Melissa R. DuBose, United States District Judge.

       As announced at the hearing held today before this Court, until otherwise

 ordered by the Court, the petitioner shall not be moved outside the District of Rhode

 Island without providing the Court and petitioner with at least 72 hours’ advance

 notice of the move and the reason therefor. Any such 72-hour notice period shall

 commence at the date and time such notice is filed with this Court and run only on

 business days such that the notice period shall pause for any Saturday, Sunday, or

 legal holiday (which shall be excluded from the 72-hour notice period calculation).


 IT IS SO ORDERED.



 _________________________________
 Melissa R. DuBose
 United States District Judge


 5/7/2025
